             Case 3:06-cr-00090-MHP          Document 34       Filed 06/09/06      Page 1 of 4



1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVBN 0722)
3    Chief, Criminal Division
4    CANDACE KELLY (CSBN 191473)
     Assistant United States Attorney
5
        450 Golden Gate Avenue, Box 36055
6       San Francisco, California 94102-3495
        Telephone: (415) 436-6962
7       FAX: (415) 436-7234
8    Attorneys for Plaintiff
9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,                    )       No. CR 06-0090-MHP
                                                  )
14           Plaintiff,                           )
                                                  )
15      v.                                        )
                                                  )       STIPULATION AND [PROPOSED]
16   HARUT KORAKOSSIAN,                           )       ORDER TO CONTINUE STATUS
       a/k/a Harry Korakossian,                   )       HEARING AND EXCLUDE TIME
17     a/k/a Harut Korakissian,                   )       UNDER THE SPEEDY TRIAL ACT
       a/k/a Harry Korakissian,                   )       FROM MAY 15, 2006 TO SEPTEMBER
18     a/k/a Harutyun Kirakossian,                )       20, 2006
     WILSON FUNG,                                 )
19   EDWARD RIDGELL, and                          )
     DAISY TORRES CRUZ,                           )
20                                                )
                                                  )
21                                                )
             Defendants.                          )
22                                                )
23
24
                                              STIPULATION
25
        1. On May 15, 2006, the parties appeared before this Court for a status hearing. The Court
26
     set a trial date of September 26, 2006. The Court also scheduled the pretrial conference for
27
     September 20, 2006 at 2:30 p.m. and set the deadline for pretrial filings at September 8, 2006.
28

     ORDER
     CR 06-0090-MHP
            Case 3:06-cr-00090-MHP            Document 34        Filed 06/09/06      Page 2 of 4



1    The Court also set a hearing date of July 17, 2006 for any motions that the defendants might file.
2       2. The parties stipulated and the Court found that due to the large volume of discovery, this
3    case is complex as it is defined in the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(B)(ii). The
4    Court made a finding that time should be excluded under the Speedy Trial Act from May 15,
5    2006, through September 20, 2006, based on the complexity of the case and the defendants’ need
6    for a reasonable amount of time for the defense to effectively prepare for trial, taking into
7    account the exercise of due diligence.
8    SO STIPULATED.
9
     DATED: 6/6/06                                 ______________/s/______________
10                                                 GEOFF HANSEN
                                                   Attorney for Defendant A. RIDGELL
11
12   DATED: 5/17/06                                ______________/s/______________
                                                   ELLEN BARRY
13                                                 Attorney for Defendant FUNG
14
     DATED: 5/18/06                                ______________/s/______________
15                                                 ARTHUR K. WACHTEL
                                                   Attorney for Defendant KORAKOSSIAN
16
17
     DATED: 6/6/06                                 ______________/s/______________
18                                                 CANDACE KELLY
                                                   Assistant United States Attorney
19
20
                                                   ORDER
21
        The Court finds that this is a complex case and that there is good cause for the extension of
22
     time described above, and that the ends of justice served by granting this continuance outweigh
23
     the best interests of the public and of the defendants in a speedy trial and the prompt disposition
24
     of criminal cases. 18 U.S.C. § 3161(h)(8)(B)(ii). The Court further finds that failure to grant the
25
     continuance would deny the defendants and their counsel the reasonable time necessary for
26
     effective preparation taking into account the exercise of due diligence and continuity of counsel
27
     under 18 U.S.C. § 3161(h)(8)(B)(iv).
28

     ORDER
     CR 06-0090-MHP
            Case 3:06-cr-00090-MHP           Document 34           Filed 06/09/06              Page 3 of 4



1       Accordingly, and with the consent of the defendants, the Court continues the matter to July
2    17, 2006 at 10:00 a.m. for a hearing on the defendant’s pretrial motions. The Court also sets this
3    matter for trial on September 26, 2006 and sets a pretrial conference for September 20, 2006 at
4    2:30 p.m. The Court further orders that the period from May 15, 2006 through and including
5    September 20, 2006 be excluded from the Speedy Trial Act calculations under 18 U.S.C. §§
6    3161(h)(8)(A) and 3161(h)(8)(B)(i) and (iv).

                                                                 ISTRIC
                                                             ES D
7    IT IS SO ORDERED.
                                                            T          TC
8                                                         TA




                                                                                      O
                                                     S




                                                                                       U
                                                    ED
            June 9, 2006
     DATED:________________




                                                                                        RT
9
                                                                     DERED
                                                UNIT
                                                    MARILYN HALL
                                                             S O O RPATEL
10                                                     IT ISSTATES DISTRICT JUDGE
                                                    UNITED




                                                                                                R NIA
11
                                                                                       l
                                                                      arilyn   H. Pate
                                                NO


12                                                            Judge M




                                                                                               FO
                                                  RT




                                                                                           LI
13
                                                         ER
                                                     H




                                                                                       A
                                                              N                            C
                                                                                   OF
14
                                                                  D IS T IC T
                                                                        R
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ORDER
     CR 06-0090-MHP
              Case 3:06-cr-00090-MHP           Document 34        Filed 06/09/06      Page 4 of 4



1                                        CERTIFICATE OF SERVICE
2       The undersigned hereby certifies that she is an employee of the office of the United States
3    Attorney, Northern District of California and is a person of such age and discretion to be
4    competent to serve papers. The undersigned certifies that she caused copies of
5
     STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS HEARING AND
6       EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT FROM MAY 15, 2006 TO
                            SEPTEMBER 20, 2006
7
     in the case of UNITED STATES V. HARUT KORAKOSSIAN, ET AL., CR 06-0090 MHP
8
     to be served on the parties in this action, by placing a true copy thereof in a sealed envelope,
9
     addressed as follows which is the last known address:
10
11   Ellen M. Barry, Esq.            Arthur K. Wachtel, Esq.                 Geoffrey Hansen, Esq.
     316 West 2nd Street, Suite 1202 170 Columbus Avenue, #100               Public Defender's Office
12   Los Angeles, CA 90012           San Francisco, CA 94135                 450 Golden Gate Avenue
     Fax No: 213-621-1644            Fax No: 415-248-0019                    19th Ave
13                                                                           San Francisco, CA 94102
                                                                             [Hand deliver]
14
15      X     (By Personal Service), I caused such envelope to be delivered by hand to the person or
              offices of each addressee(s) above.
16
17     X      (By Facsimile), I caused each such document to be sent by Facsimile to the person or
              offices of each addressee(s) above.
18
19            (By Mail), I caused each such envelope, with postage thereon fully prepaid, to be placed
              in the United States mail at San Francisco, California.
20
              (By Fed Ex), I caused each such envelope to be delivered by FED EX to the address
21             listed above.
22
              I declare under penalty of perjury that the foregoing is true and correct.
23
     Dated:    May 18, 2006
24
25                                                                         /s/
                                                                    RAWATY YIM
26                                                                  United States Attorney’s Office
27
28

     ORDER
     CR 06-0090-MHP
